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   8                        UNITED STATES DISTRICT COURT

   9                       CENTRAL DISTRICT OF CALIFORNIA

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 11    JAMAR MENEESE,                        Case No. CV 20-2067-RGK(AS)

 12                      Petitioner,         ORDER ACCEPTING FINDINGS,
 13           v.                             CONCLUSIONS AND
 14                                          RECOMMENDATIONS OF UNITED
        RICK HILL, Warden
 15                                          STATES MAGISTRTE JUDGE
 16                      Respondent.

 17

 18           Pursuant to 28 U.S.C. section 636, the Court has reviewed the
 19    Second Amended Petition, the motion for stay and abeyance, all of
 20    the records herein and the attached Report and Recommendation of
 21    United States Magistrate Judge.          After having made a de novo
 22    determination of the portions of the Report and Recommendation to
 23    which Objections were directed, the Court concurs with and accepts
 24    the findings and conclusions of the Magistrate Judge.
 25
              IT IS ORDERED that Judgment be entered denying the Motion for
 26

 27    Stay   and   Abeyance,   denying   the   Second   Amended    Petition      and

 28    dismissing this action with prejudice.
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   1        IT IS FURTHER ORDERED that the Clerk serve copies of this
   2   Order, the Magistrate Judge’s Report and Recommendation and the
   3
       Judgment   herein    on   counsel   for    Petitioner   and   counsel      for
   4
       Respondent.
   5

   6
            LET JUDGMENT BE ENTERED ACCORDINGLY
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   8   DATED: 11/8/2021
   9
                                                 __________     _____________
 10                                                    R. GARY KLAUSNER
                                                  UNITED STATES DISTRICT JUDGE
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